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    EXHIBIT V
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       4.​     I also helped identify members and other non-managerial employees who had

knowledge related to the fatality and working conditions. These members spoke with the OSHA

inspector under the condition that their discussion was confidential. When members requested

my presence during interviews with the OSHA inspector, I attended the interviews in my

capacity as union leadership. During these interviews, the OSHA inspector collected personally

identifying information. This interview testimony is part of the OSHA case files and, to the best

of my knowledge, is on file with the Department of Labor.

       5.​     During this investigation, many members spoke to the OSHA inspector only

because of the promise of confidentiality. They did not want their employer to know they were

providing testimony in the case against them, and feared retaliation if their identities and

information they provided were not confidential.

       6.​     The promise of confidentiality was critical to helping me find people willing to

testify and in ensuring that OSHA could properly investigate the incident. It allowed me to tell

my members that they could share this information with the OSHA investigator without fear.

And it also assured me that I, too, could share information about the fatality without fear of

retaliation by my employer.

       7.​     If my members and I no longer believe that their information is confidential

because people at the Department of Labor who are not involved in these investigations and who

are not trained on the Department’s confidentiality measures have access to sensitive

information, I will not be able to tell my members that their information will be protected. And

that will mean that members—including myself—may not be willing to come forward and report

on instances in the future.




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Executed on February 10, 2025

                                                                  /s/




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